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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:22-CR-00069-JAM

12                                Plaintiff,            GOVERNMENT’S FORMAL OBJECTION TO
                                                        THE PSR AND MOTION FOR UPWARD
13                          v.                          DEPARTURE; EXHIBITS

14   MARCUS LAWRENCE WEBER,                             DATE: August 30, 2022
                                                        TIME: 9:30 a.m.
15                               Defendant.             COURT: Hon. John A. Mendez
16

17                                             I.   INTRODUCTION

18          The government objects to the criminal history category in the Final PSR (ECF No. 20), and

19 moves for an upward departure on the basis that a criminal history category of IV “substantially under-

20 represents he seriousness of the defendant’s criminal history or the likelihood that the defendant will
21 commit other crimes.” U.S.S.G. § 4A1.3(a)(1). The government requests that the Court increase the

22 defendant’s criminal history category from to VI based on the facts that: 1) Weber committed the instant

23 offense while he was on the run from four pending state prosecutions (all of which involve firearms), 2)

24 Weber was not held accountable for his possession of five firearms in July 2020 (prior similar adult

25 conduct not resulting in a conviction), and 3) Weber was not held accountable for his possession of a

26 firearm during the incident leading to his June 2021 conviction for possession of methamphetamine with

27 intent to sale, in violation of HS 11378 (prior similar adult conduct not resulting in a conviction). With

28 the corrected criminal history category of VI, the defendant’s guideline range would be 77-96


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 1 months. 1

 2                                            II.    ARGUMENT

 3          On March 16, 2022, Sacramento Police officers tracked down the defendant, who was then the

 4 subject of four separate felony warrants. PSR ¶ 8. When they attempted to perform a traffic stop on

 5 Weber, he led them on a car chase through a populated apartment complex. PSR ¶ 10. Weber

 6 eventually stopped his car and began running on foot. Id. He was wearing a black ski mask and running

 7 with a loaded firearm in his hand. PSR ¶ 11. Weber dropped the firearm, picked it back up, and kept

 8 running. He eventually dropped the firearm again, laid down in a dry creek bed, and was arrested. PSR

 9 ¶ 12. On April 19, 2022, Weber pleaded guilty to being a felon in possession of a firearm. ECF No. 15.

10 He is set to be sentenced on August 30, 2022.

11          As noted above, Weber committed the instant offense after failing to appear for four separate

12 pending state cases, all of which involved firearms. PSR ¶¶ 8, 45-47. 2 Additionally, Weber was

13 arrested by Vacaville Police Department officers on July 3, 2020 for possessing five firearms as a felon.

14 PSR ¶ 44. Because the State dismissed this case after Weber prevailed on a motion to suppress, he was

15 never held accountable for possessing those dangerous firearms. Finally, when Weber committed the

16 instant offense, he was on probation for a June 17, 2021 a felony conviction that involved the discharge

17 of a firearm and the possession of methamphetamine for sale. PSR ¶ 36. While this incident resulted in

18 a drug trafficking conviction, officers were never able to locate the firearm, and thus Weber was never

19 held accountable for his possession of it. Id.
       Date             Offense summary                Outcome        PSR ¶ Exh.      Basis
20 7/2/2020     Possession of a machine gun, an Dismissal              44 1      § 4A1.3(a)(2)(E)
                AR pistol, and three Glock        (suppression of car
21              Switches                          stop)
22    1/12/2021    Negligent discharge of a firearm Conviction for         36    2      § 4A1.3(a)(2)(E)
                   through his apartment wall,      drug charge only
23                 possession of methamphetamine (HS 11378)
                   for sale
24

25    7/2/2021     Pistol whipping and assault of   Pending                45    3      § 4A1.3(a)(2)(D)

26          1
             The government will make an alternative Section 3553(a) argument for an upward variance in
   its sentencing memorandum, to be filed by August 23, 2022.
27
           2
             PSR ¶¶ 45-47 discuss the three pending cases in Sacramento and Fresno County. The fourth
28 case is a pending probation case related to Weber’s two separate July 2021 offenses.


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 1                 pregnant victim                    (defendant failed
                                                      to appear)
 2    7/7/2021     Possession of a firearm            Pending               46    4       § 4A1.3(a)(2)(D)
                                                      (defendant failed
 3                                                    to appear)
      7/8/2021     Probation revocation petition      Pending             45, 46 4        § 4A1.3(a)(2)(E)
 4                 related to the 7/2/2021 and        (defendant failed
                   7/8/2021 new law offenses          to appear)
 5
      12/5/2021    Defendant threatened to kill       Pending               47    5       § 4A1.3(a)(2)(E)
 6                 victim with firearm                (defendant failed
                                                      to appear)
 7

 8           U.S.S.G. § 4A1.3(a)(1) allows for an upward departure “[i]f reliable information indicates that
 9 the defendant’s criminal history category substantially under-represents the seriousness of the

10 defendant’s criminal history or the likelihood that the defendant will commit other crimes.” Subsections

11 (D) and (E) allow the Court to consider “[w]hether the defendant was pending trial or sentencing on

12 another charge at the time of the instant offense” and “[p]rior similar adult criminal conduct not

13 resulting in a criminal conviction.”

14           The defendant’s criminal history falls squarely within U.S.S.G. § 4A1.3(a)(1). His prior
15 uncounted criminal history is both similar to the current criminal conduct (his possession of a firearm)

16 and serious, warranting an upward departure. He should not be allowed to benefit from the fact that his

17 own decision to flee his four pending state cases prevented their resolution. Nor should the Court

18 disregard the reliable evidence he possessed dangerous firearms on July 2, 2020 and also on July 7,

19 2021. From July 2020 to March 2022, the defendant committed six separate serious offenses involving

20 firearms.
21           The defendant has not spent more than a few months as an adult living a law-abiding life. His
22 criminal history is replete with violence and illegal possession of dangerous firearms. To ignore these

23 incidents would both substantially under-represent the seriousness of his criminal history and the

24 likelihood that he will commit other crimes. U.S.S.G. § 4A1.3(a)(1).

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 1                                           III.   CONCLUSION

 2          For these reasons, the government objects to paragraph 40, objects to the criminal history

 3 category of IV, and moves this court to for a two-level upward departure to a criminal history category

 4 VI.

 5

 6   Dated: August 16, 2022                                 PHILLIP A. TALBERT
                                                            United States Attorney
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 8                                                   By: /s/ ADRIAN T. KINSELLA
                                                         ADRIAN T. KINSELLA
 9                                                       Assistant United States Attorney
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